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 8
                                 UNITED STATES DISTRICT COURT
 9
                              WESTERN DISTRICT OF WASHINGTON
10
                                          SEATTLE DIVISION
11

12
     JANE DOE 1, individually and on behalf of all       Case No.
13   others similarly situated,
                                                         CLASS ACTION COMPLAINT
14                        Plaintiff,
                                                         DEMAND FOR JURY TRIAL
15         vs.
16
     LABORATORY SERVICES COOPERATIVE,
17
                          Defendant.
18

19

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            Plaintiff Jane Doe 1, individually and on behalf of all others similarly situated, (“Plaintiff”)
21
     brings this Action against Laboratory Services Cooperative (“Laboratory Services Cooperative” or
22
     “LSC” or “Defendant”). Plaintiff’s allegations are based upon personal knowledge as to herself and
23
     her own acts, and upon information and belief as to all other matters based on the investigation
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     conducted by and through Plaintiff’s attorneys. Plaintiff believes that substantial additional
25
     evidentiary support will exist for the allegations set forth, after a reasonable opportunity for
26
     discovery.
27

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 1                                            INTRODUCTION
 2           1.     Laboratory Services Cooperative (“LSC”) is a designated non-profit organization and
 3   independent clinical laboratory based in Seattle, Washington that offers diagnostic testing services
 4   to select Planned Parenthood health centers throughout the United States. Laboratory Services
 5   Cooperative was established in April 2010 as an independent non-profit organization, but
 6   originated as the Planned Parenthood of the Great Northwest (“PPGNW”) Laboratory in Bremerton
 7   in May 2007. 1 Laboratory Services Cooperative is critical in supporting health centers that provide
 8   reproductive health services across more than 35 U.S. states, handling highly sensitive personal
 9   data, billing information, and lab testing results. 2
10           2.     To receive diagnostic testing services from certain Planned Parenthood clinics,
11   patients are required to entrust Laboratory Services Cooperative with their highly sensitive and
12   personally identifiable information (“PII”) and personal health information (“PHI”) (collectively
13   “Private Information”), which Laboratory Services Cooperative uses to engage in its usual business
14   activities as an affiliate of Planned Parenthood. To reassure its patients, Planned Parenthood
15   promises patients that it and its affiliates, including Laboratory Services Cooperative, “respect and
16   are committed to protecting the privacy of users of our websites, applications, and other online and
17   electronic services” 3 and they “understand that health information about you and your healthcare
18   is personal” and “are committed to protecting health information about you.” 4 Laboratory Services
19   Cooperative, however, failed to protect the patient information it was entrusted, compromising the
20

21

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     1
       Michael Romo, M.S PPGNW Bremerton Lab is Now the Laboratory Services Cooperative (LSC), FOCUS ON
23   PLANNED PARENTHOOD, https://www.plannedparenthood.org/uploads/filer_public/27/3b/273b678d-184b-404e-
     841c-33af41ea1fcb/focus_spring_2010_web.pdf (last accessed).
24   2
       Richard Console, Jr., Laboratory Services Cooperative Data Breach Impacts 1.6 Million Planned Parenthood
     Patients, JDSUPRA, https://www.jdsupra.com/legalnews/laboratory-services-cooperative-data-9483682/ (last
25   accessed April 17, 2025).
     3
       Privacy Policy, PLANNED PARENTHOOD, https://www.plannedparenthood.org/planned-parenthood-california-
26   central-coast/privacy-policy#fullpolicy (last accessed April 16, 2025April 17, 2025).
     4
        HIPAA Privacy Policy, PLANNED PARENTHOOD, https://www.plannedparenthood.org/planned-parenthood-
27   california-central-coast/hipaa (last accessed April 16, 2025).

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 1   personal information of over one million individuals (the “Data Breach”), as announced by
 2   Defendant on April 10, 2025. 5
 3           3.      Laboratory Services Cooperative failed to properly secure and safeguard the highly
 4   valuable PII and PHI of its patients, including patients’ full names, SSNs, driver’s license or
 5   passport numbers, government-issued IDs, dates of service, diagnoses, treatments, lab results,
 6   health insurance information, billing details, bank and payment card information, and other
 7   personal information. 6 Laboratory Services Cooperative also failed to comply with industry
 8   standards to protect information systems that contain Private Information and failed to provide
 9   timely and adequate notice to Plaintiff and other members of the Class that their Private Information
10   had been accessed and compromised.
11
             4.      As a result of Laboratory Services Cooperative’s inadequate security and breach of
12
     its duties and obligations, the Private Information of Plaintiff and Class Members was compromised
13
     through disclosure to an unauthorized criminal third party. Plaintiff and Class Members have
14
     suffered injuries as a direct and proximate result of Defendant’s conduct. These injuries include:
15
     (i) out-of-pocket expenses associated with preventing, detecting, and remediating identity theft,
16
     social engineering, and other unauthorized use of their Private Information; (ii) opportunity costs
17
     associated with attempting to mitigate the actual consequences of the Data Breach, including but
18
     not limited to lost time; (iii) the continued, long term, and certain increased risk that unauthorized
19
     persons will access and abuse Plaintiff’s and Class Members’ Private Information; (iv) the
20
     continued and certain increased risk that the Private Information that remains in Defendant’s
21
     possession is subject to further unauthorized disclosure for so long as Defendant fails to undertake
22
     proper measures to protect the Private Information; (v) invasion of privacy and increased risk of
23
     fraud and identity theft; (vi) theft of their Private Information and the resulting loss of privacy rights
24
     in that information; (vii) diminution in value and/or lost value of Private Information, a form of
25

26   5
           Laboratory Services Cooperative Security Incident,              LABORATORY   SERVICES        COOPERATIVE,
     https://www.lscincidentsupport.com/ (last accessed April 16, 2025).
27   6
       Id.

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 1   property that Defendant obtained from Plaintiff and Class Members. This action seeks to remedy
 2   these failings and their consequences. Plaintiff and Class Members have a continuing interest in
 3   ensuring that their Private Information is and remains safe, and they should be entitled to injunctive
 4   and other equitable relief.
 5          5.     While the breach here was especially sensitive, even the most basic Private
 6   Information becomes especially valuable to cybercriminals to create seemingly legitimate,
 7   personalized phishing scams. This exfiltrated personal data, the full extent of which Laboratory
 8   Services Cooperative has failed to disclose to the public, allows hackers to gain a clear image of
 9   each individual and track their whereabouts, leading hackers to each victim’s behavior and
10   background. The combined exfiltrated data effectively provides criminals with a key to their
11   personal lives, making it easy to match additional data, gaining access to their personal accounts
12   and insight on their preferences. Hackers are now able to build a three-dimensional picture and
13   thereby exploit Laboratory Services Cooperative’s patients.
14          6.     Laboratory Services Cooperative has disregarded the rights of Plaintiff and Class
15   Members by, inter alia, failing to take adequate and reasonable measures to ensure its data systems
16   were protected against unauthorized intrusions; failing to disclose that it did not have adequately
17   robust computer systems and security practices to safeguard Private Information; failing to take
18   standard and reasonably available steps to prevent the Data Breach; and failing to properly train its
19   staff and employees on proper security measures.
20          7.     In addition, Laboratory Services Cooperative failed to properly monitor its computer
21   network and systems that housed the Private Information. Had it properly monitored these
22   electronic and cloud-based systems, it would have discovered the intrusion sooner or prevented it
23   altogether.
24          8.     Defendant has also been unjustly enriched, as Plaintiff and the Class Members paid
25   for medical services from their provider with the reasonable belief that it would be kept confidential
26   and secure, including by Defendant and any vendors or affiliates their medical providers used.
27   Defendant should have invested a greater portion of the monies received from Plaintiff and Class
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 1   Members in proper data management and security, including proper and safe storage of Plaintiff’s
 2   and Class Members’ Private Information. Because Defendant failed to implement data management
 3   and security measures sufficient to protect that data and comply with industry standards, the
 4   principles of equity and justice demand that Defendant not be permitted to retain the money
 5   Plaintiff and Class Members paid Defendant for protection they did not receive.
 6           9.    Plaintiff brings this lawsuit on behalf of herself and all those similarly situated to
 7   address Defendant’s inadequate safeguarding of Class Members’ Private Information that it
 8   collected and maintained. To remedy these violations of law, Plaintiff and Class Members thus seek
 9   actual damages, statutory damages, restitution, and injunctive and declaratory relief (including
10   significant improvements to Defendant’s data security protocols and employee training practices),
11   reasonable attorneys’ fees, costs, and expenses incurred in bringing this action, and all other
12   remedies this Court deems just and proper.
13                                               PARTIES
14    Plaintiff
15           10.    Jane Doe 1 7: Plaintiff Doe is a natural person and citizen of California. Plaintiff
16   visited a Planned Parenthood location in Lakewood, California, in August 2024, where her medical
17   provider performed tests that, upon information and belief, were processed by Defendant. Plaintiff
18   only allowed her medical provider and, by extension, Defendant, to maintain, store, and use her
19   Private Information because she reasonably expected that Defendant would use proper security
20   measures to protect her Private Information and prevent its access by unauthorized third parties. As
21   a result of this expectation, Plaintiff entrusted her Private Information to Defendant, and her Private
22   Information was within the possession and control of Defendant at the time of the Data Breach.
23   Had Plaintiff been informed of Defendant’s insufficient data security measures to protect her
24   Private Information, she would not have willingly provided her Private Information to Defendant.
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       Given the significant privacy concerns at stake, Plaintiff respectfully requests permission to
     proceed pseudonymously and will file a Motion to Proceed Pseudonymously if necessary.
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 1          11.    In order to receive laboratory testing services from her medical provider, and, by
 2   extension, Laboratory Services Cooperative, Plaintiff was required to, and did, provide her Private
 3   Information to Planned Parenthood, who then provided it to Laboratory Services Cooperative,
 4   which input it into their systems as well.
 5          12.    Upon information and belief, Defendant has not provided actual notice to all
 6   individuals affected by the Data Breach.
 7          13.    As a result of the Data Breach, Plaintiff has been further injured by the damages to
 8   and loss in value of her Private Information—a form of intangible property that Plaintiff entrusted
 9   to Defendant. This information has inherent value that Plaintiff was deprived of when her Private
10   Information was negligently made accessible to and intentionally and maliciously exfiltrated by
11   cybercriminals.
12          14.    When Plaintiff’s Private Information was accessed and obtained by a third party
13   without her consent or authorization, Plaintiff suffered injury from a loss of privacy.
14          15.    Given the highly sensitive nature of the information involved, the Data Breach has
15   also caused Plaintiff to suffer imminent harm arising from a substantially increased risk of
16   additional fraud, identity theft, financial crimes, and misuse of her Private Information. This highly
17   sensitive information is now in the hands of criminals as a direct and proximate result of
18   Defendant’s misconduct. It is also possible that other forms of information not yet disclosed by
19   Defendant were also lost in the breach.
20          16.    As a result of the actual harm Plaintiff has suffered and the imminent and substantial
21   risk of future harm, the Data Breach has forced Plaintiff to spend significant time and energy
22   dealing with issues related to the Data Breach, including self-monitoring her accounts to ensure no
23   fraudulent activity has occurred, dealing with a marked increase in spam texts and emails that
24   occurred soon after the breach, and changing identifying information and passwords for her
25   accounts. Much of the time and energy that Plaintiff expended, which has been lost forever and
26   cannot be recaptured, was spent at Defendant’s direction.
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 1           17.    The substantial risk of imminent harm and loss of privacy has also caused Plaintiff to
 2   suffer stress, fear, emotional distress, and anxiety.
 3           18.    Defendant acknowledged the risk posed to Class Members and their Private
 4   Information as a result of the Data Breach, explicitly stating that Laboratory Services Cooperative
 5   “sincerely regret[s] any concern this incident may cause and will continue to work hard to maintain
 6   the trust of [its] patients and partners,” encouraging patients to “remain vigilant by regularly
 7   reviewing [their] accounts and monitoring credit reports for suspicious activity.” 8
 8   Defendant
 9           19.    Laboratory Services Cooperative. Defendant Laboratory Services Cooperative is a
10   designated non-profit organization based in Seattle, Washington, with its principal place of business
11   located at 2001 E Madison St, Seattle, WA 98122. Defendant conducts business, providing
12   laboratory testing services to Planned Parenthood health centers and their patients across thirty-five
13   (35) U.S. states.
14                                       JURISDICTION AND VENUE
15           20.    This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. Section
16   1332(d) because this is a class action where the aggregate amount in controversy exceeds the sum
17   or value of $5,000,000, exclusive of interest and costs, there are more than 100 members in the
18   proposed class, and at least one Class Member is a citizen of a state different from Defendant. This
19   Court has supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. Section 1367.
20           21.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
21   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
22   District: Defendant’s principal place of business is located in this District from where its board of
23   directors and/or officers direct Defendant’s activities including to their actions and inactions
24   leading to the data breach at issue; Defendant gains revenue and profits from doing business in this
25   District; Class Members were affected by the breach from Laboratory Services Cooperative’s
26
     8
         Laboratory Services Cooperative Security Incident, LABORATORY                   SERVICES        COOPERATIVE,
27   https://www.lscincidentsupport.com/ (last accessed April 16, 2025April 17, 2025).

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 1   actions and inactions directed from this District.
 2                                     FACTUAL ALLEGATIONS
 3          22.    Laboratory Services Cooperative is a provider of diagnostic laboratory testing
 4   services for numerous Planned Parenthood clinics. Defendant collects and processes the personal
 5   data of its affiliates’ patients, including those patients of Planned Parenthood clinics across thirty-
 6   five (35) U.S. states. To purchase services from Defendant, patients are forced to entrust Defendant
 7   with their Private Information.
 8          23.    The information collected and stored by Defendant includes, but is not limited to,
 9   personal identifiers, such as full names, SSNs, driver’s license or passport numbers, medical
10   information, such as dates of service, diagnoses, treatments, and lab results, health insurance
11   information, such as plan types, insurers, and member/group ID numbers, and billing and
12   financial information, such as claims, billing details, and bank/payment information.
13          24.    Defendant holds itself as a trustworthy entity, which recognizes and values its
14   patients’ privacy and personal information and has repeatedly assured its patients of this through
15   its affiliation with Planned Parenthood.
16          25.    Plaintiff and other similarly situated patients relied to their detriment on Defendant’s
17   uniform representations and omissions regarding data security, including Defendant’s failure to
18   alert patients that its security protections were inadequate, and that Defendant would forever store
19   Plaintiff’s and Class Members’ Private Information, failing to archive it, protect it, or at the very
20   minimum warn consumers of the anticipated and foreseeable data breach.
21          26.    Plaintiff and other similarly situated patients trusted Defendant with their sensitive
22   and valuable Private Information.
23          27.    Had Defendant disclosed to Plaintiff and its other patients that its data systems were
24   not secure and were vulnerable to attack, Plaintiff would not have purchased Defendant’s services.
25   The Data Breach
26          28.    At all material times, Laboratory Services Cooperative failed to maintain proper
27   security measures despite its promises of safety and security to consumers.
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 1           29.    On October 27, 2024, Defendant’s computer system was breached by cybercriminals
 2   due to Defendant’s failure to properly secure its network. 9 Defendant did not notify its patients
 3   then, nor make any announcements to alert them of this major security issue. By February 2025,
 4   the investigation conducted by third-party digital forensics specialists revealed that personal
 5   information, including personal health information, relating to certain Laboratory Services
 6   Cooperative patients and employees, was acquired by the threat actors. Despite being informed of
 7   the cyberattack on October 27, 2024, Defendant kept silent and chose not to notify the affected
 8   patients for nearly six months—a surprising and inexcusable delay further underscoring
 9   Defendant’s disregard for its patients.
10           30.    On or around April 10, 2025, Defendant finally began notifying some patients,
11   including Plaintiff, of the Data Breach via a website posting after nearly six months had passed
12   since Defendant learned of the unauthorized access.
13           31.    In its statement, Defendant fails to include sufficient information about the Data
14   Breach and what it is doing to fix the vulnerabilities and keep patients’ information secure, leaving
15   many consumers to speculate whether it is likely that their PII/PHI has been compromised and
16   whether it is still safe in Defendant’s hands. Instead, Defendant downplayed the extent of the Data
17   Breach, and the harm to affected victims.
18   Data Breaches and the Market for PII/PHI
19           32.    It should be no surprise that in today’s digital economy, “a new form of black gold
20   has emerged, one that is intangible yet infinitely more powerful: data.” 10 Personal data has become
21   a “precious commodity,” at the forefront of technological innovation. 11 Data is a pivotal economic
22   asset and form of capital, allowing companies rich in it to drive competition. Considering the
23   9
        Steve Alder, Laboratory Services Cooperative Breach Impacts 1.6 Million People, THE HIPAA JOURNAL,
     https://www.hipaajournal.com/laboratory-services-cooperative-data-breach/ (last accessed April 16, 2025).
24   10
        Lawrence Teixeira, The New Black Gold: How Data Became the Most Valuable Asset in Tech, MEDIUM (Feb. 12,
     2024), https://medium.com/@lawrenceteixeira/the-new-black-gold-how-data-became-the-most-valuable-asset-in-
25   tech-9e4541262ddf#:~:text=Lawrence%20Teixeira%20%7C%20Medium-
     ,The%20New%20Black%20Gold:%20How%20Data%20Became,Most%20Valuable%20Asset%20in%20Tech&te
26   xt=In%20the%20annals%20of%20history,most%20valuable%20asset%20in%20technology.&text=If%20playback
     %20doesn%27t%20begin%20shortly%2C%20try%20restarting%20your%20device.
27   11
        Id.

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 1   implications of “big data” in corporate America and the consequences of cyber thefts, which
 2   include heavy prison sentences, the value of data is axiomatic. Even this obvious risk-to-reward
 3   analysis illustrates beyond doubt that personal information has considerable market value.
 4           33.     In a consumer-driven world, the ability to capture and use consumer data to shape
 5   products, solutions, and the buying experience is critically important to a business’s success. 12
 6   Research shows that organizations who “leverage customer behavior insights outperform peers by
 7   85 percent in sales growth and more than 25 percent in gross margin” 13 and that “[d]ata-driven
 8   companies are 23 times more likely to top their competitors in customer acquisition, about 19 times
 9   more likely to stay profitable and nearly seven times more likely to retain customers.” 14
10           34.     Indeed, an entire economy exists related to the value of personal data. In 2023, the
11   big data technology market was valued at roughly $349 billion, and that value is expected to grow
12   from roughly $397 billion in 2024 to $1,194 billion by 2032. 15
13           35.     In 2013, the Organization for Economic Cooperation and Development (“OECD”)
14   even published a paper entitled “Exploring the Economics of Personal Data: A Survey of
15   Methodologies for Measuring Monetary Value.” 16 In this paper, the OECD measured prices
16   demanded by companies concerning user data derived from “various online data warehouses.”17
17   The OECD indicated that “[a]t the time of writing, the following elements of personal data were
18

19   12
        Laci Loew, Data Differentiation: Why Consumer Data Is A Modern Organization’s Real Competitive Advantage,
     FORBES (Oct. 2, 2024), https://www.forbes.com/councils/forbescommunicationscouncil/2024/10/02/data-
20   differentiation-why-customer-data-is-a-modern-organizations-real-competitive-advantage/ (last accessed April 16,
     2025April 17, 2025).
21   13
        Brad Brown, Kumar Kanagasabai, Prashant Pant & Goncalo Serpa Pinto, Capturing value from your customer
     data, MCKINSEY (Mar. 15, 2017), https://www.mckinsey.com/business-functions/quantumblack/our-
22   insights/capturing-value-from-your-customer-data (last accessed April 16, 2025).
     14
        Laci Loew, Data Differentiation: Why Consumer Data Is A Modern Organization’s Real Competitive Advantage,
23   FORBES (October 2, 2024), https://www.forbes.com/councils/forbescommunicationscouncil/2024/10/02/data-
     differentiation-why-customer-data-is-a-modern-organizations-real-competitive-advantage/ (last accessed April 16,
     2025April 17, 2025).
24   15
         Big Data Technology Market Size, Share & Industry Analysis, FORTUNE BUSINESS INSIGHTS (Jan. 2025),
     https://www.fortunebusinessinsights.com/industry-reports/big-data-technology-market-100144 (last accessed April
25   16, 2025April 17, 2025).
     16
        Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring Monetary Value, OECD
26   DIGITAL ECONOMY PAPERS, NO. 220 (Apr. 2, 2013), https://www.oecdilibrary.org/docserver/5k486qtxldmq-en.pdf
     (last accessed April 16, 2025April 17, 2025).
27   17
        Id. at 25.

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 1   available for various prices: USD 0.50 cents for an address, USD 2 [i.e. $2] for a date of birth, USD
 2   8 for a social security number (government ID number), USD 3 for a driver’s license number and
 3   USD 35 for a military record. A combination of address, date of birth, social security number, credit
 4   record and military [record] is estimated to cost USD 55.” 18
 5               36.   Consumer concerns for how companies use their data is on the rise. According to
 6   Pew Research, 81% of U.S. adults are concerned about how companies use the data they collect
 7   about them. 19 Consumers increasingly say they don’t understand what companies are doing with
 8   their data, with 67% of U.S adults saying they understand little to nothing about what companies
 9   are doing with their personal data, up from 59% in 2019. 20
10               37.   When a victim’s data is compromised in a breach, the victim is exposed to serious
11   ramifications regardless of the sensitivity of the data, including but not limited to identity theft,
12   fraud, decline in credit, inability to access healthcare, as well as legal consequences. 21
13               38.   The U.S. Department of Justice’s Bureau of Justice Statistics has found that “among
14   victims who had personal information used for fraudulent purposes, 29% spent a month or more
15   resolving problems” and that resolution of those problems could take more than a year. 22 Indeed,
16   data breaches and identity theft have a crippling effect on individuals and detrimentally impact the
17   economy as a whole.
18               39.   The U.S. Government Accountability Office (“GAO”) has concluded that it is
19   common for data thieves to hold onto stolen data for extended periods of time before utilizing it for
20

21

22   18
          Id.
23
     19
            How Americans View Data Privacy, PEW RESEARCH CENTER (Oct.                             18,  2023),
     https://www.pewresearch.org/internet/2023/10/18/how-americans-view-data-privacy/; Americans and Privacy:
     Concerned, Confused and Feeling Lack of Control Over Their Personal Information, PEW RESEARCH CENTER (Nov.
24
     15, 2019), https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-confused-and-
     feeling-lack-of-control-over-their-personal-information/.
25   20
        Id.
     21
        Data Breach Response: A Guide for Business, FEDERAL TRADE COMMISSION, https://www.ftc.gov/business-
26   guidance/resources/data-breach-response-guide-business (last accessed April 16, 2025).
     22
             Victims    of     Identity     Theft,     U.S.    DEPARTMENT         OF    JUSTICE, (Sept.  2015),
27   http://www.bjs.gov/content/pub/pdf/vit14.pdf (last accessed April 16, 2025).

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 1   identity theft. 23 In the same report, the GAO noted that while credit monitoring services can assist
 2   with detecting fraud, those services do not stop it. 24
 3           40.    As the FTC recognizes, identity thieves can use this information to commit an array
 4   of crimes including identify theft, and financial fraud. 25 Indeed, a robust “cyber black market”
 5   exists in which criminals openly post stolen PII on multiple underground Internet websites,
 6   commonly referred to as the “dark web.”
 7           41.    Further, criminals often trade stolen PII on the “cyber black-market” for years
 8   following a breach. Cybercriminals can post stolen PII on the internet, thereby making such
 9   information publicly available.
10           42.    With repeated warnings from FTC, GAO, Department of Justice, and FBI –
11   Defendant’s had duty to do more, not less – especially because it was in possession of highly
12   sensitive medical data – the data that cannot be changed for Plaintiff and the Class. Defendant has
13   no exclude for its failure to implement robust security measures and instead ignore the warnings,
14   and the cybersecurity mandated by the industry standard.
15           43.    When companies entrusted with personal data fail to implement industry’s best
16   practices, cyberattacks and other data exploitations can go undetected for a long period of time.
17   This worsens the ramifications and can even render the harm irreparable.
18           44.    In this black market, criminals seek to sell the spoils of their cyberattacks to identity
19   thieves who desire the data to extort and harass victims and take over victims’ identities to open
20   financial accounts and otherwise engage in illegal financial transactions under the victims’ names.
21           45.    PII has a distinct, high value—which is why legitimate companies and criminals seek
22   to obtain and sell it. The market for individuals’ data continues to grow. 26
23
     23
        Data Breaches – Range of Consumer Risks Highlights Limitations of Identity Theft Services, U.S. GOVERNMENT
24
     ACCOUNTABILITY OFFICE,
     https://www.gao.gov/assets/700/697985.pdf (last accessed April 16, 2025).
25   24
        Id.
     25
        What To Know About Identity Theft, FEDERAL TRADE COMMISSION,
26   https://consumer.ftc.gov/articles/what-know-about-identity-theft (last accessed April 16, 2025April 17, 2025).
     26
        Emily Wilson, The Worrying Trend of Children’s Data Being Sold on the Dark Web, TNW (Feb. 23, 2019),
27   https://thenextweb.com/news/children-data-sold-the-dark-web (last accessed April 16, 2025April 17, 2025).

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 1           46.    Indeed, an entire economy exists related to the value of personal data. In 2023, the
 2   big data technology market was valued at roughly $349 billion, and that value is expected to grow
 3   from roughly $397 billion in 2024 to $1,194 billion by 2032. 27
 4           47.    Defendant knew or should have known that Plaintiff’s and Class Members’ Private
 5   Information is valuable, both to legitimate entities, like Defendant, and to cybercriminals.
 6           48.    Defendant knew or should have known that Plaintiff and Class Members would
 7   reasonably rely upon and trust Defendant’s promises regarding security and safety of their data and
 8   systems, and that their valuable Private Information would be protected.
 9           49.    By collecting, using, selling, monitoring, and trafficking Plaintiff’s and other
10   patients’ Private Information, and failing to protect it by maintaining inadequate security systems,
11   failing to properly archive the Private Information, allowing access of third parties, and failing to
12   implement security measures, Defendant caused harm to Plaintiff and other Laboratory Services
13   Cooperative patients.
14   Defendant’s Duty to Safeguard Private Information
15           50.    Defendant collects, receives, and accesses patients’ extensive individually
16   identifiable information. This Private Information includes identifiers, such as full names, SSNs,
17   driver’s license of passport numbers, medical information, such as dates of service, diagnoses,
18   treatments, and lab results, health insurance information, such as plan types, insurers, and
19   member/group ID numbers, and billing, and financial data, such as claims, billing details, and
20   bank/payment information.
21           51.    Defendant was prohibited by the Federal Trade Commission Act (the “FTC Act”) (15
22   U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting commerce.”
23   The Federal Trade Commission (the “FTC”) has concluded that an entity’s failure to maintain
24   reasonable and appropriate data security for individuals’ sensitive personal information is an
25

26   27
        Big Data Technology Market Size, Share & Industry Analysis, FORTUNE BUSINESS INSIGHTS (Jan. 2025),
     https://www.fortunebusinessinsights.com/industry-reports/big-data-technology-market-100144 (last accessed April
27   16, 2025.

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 1   “unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799
 2   F.3d 236 (3d Cir. 2015).
 3           52.     The FTC has brought enforcement actions against entities engaged in commerce for
 4   failing to adequately and reasonably protect customer data, treating the failure to employ reasonable
 5   and appropriate measures to protect against unauthorized access to confidential consumer data as
 6   an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTC Act”),
 7   15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must
 8   take to meet their data security obligations.
 9           53.     The FTC has promulgated numerous guides for businesses which highlight the
10   importance of implementing reasonable data security practices. According to the FTC, the need for
11   data security should be factored into all decision-making. 28
12           54.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide
13   for Business, which established cybersecurity guidelines for businesses. 29 The guidelines note that
14   businesses should protect the personal information that they keep; properly dispose of personal
15   information that is no longer needed; encrypt information stored on computer networks; understand
16   their network’s vulnerabilities; and implement policies to correct any security problems.
17           55.     The FTC further recommends that entities not maintain PII or PHI longer than needed
18   for the authorization of a transaction; limit access to sensitive data; require complex passwords to
19   be used on networks; use industry-tested methods for security; monitor for suspicious activity on
20   the network; and verify that third-party service providers have implemented reasonable security
21   measures. 30
22

23
     28
         Start With Security, FEDERAL TRADE COMMISSION, https://www.ftc.gov/system/files/documents/plain-
24
     language/pdf0205-startwithsecurity.pdf (last accessed April 16, 2025).
     29
          Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION,
25   https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last accessed
     April 16, 2025April 17, 2025).
26   30
        Start With Security, FEDERAL TRADE COMMISSION,
     https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last accessed April 16,
27   2025April 17, 2025).

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 1          56.    Furthermore, FTC requires that entities like Defendant conduct risk assessments,
 2   implement and periodically review access control, encrypt customer information, implement multi-
 3   factor authentication, dispose of customer information securely, maintain a log of authorized users’
 4   activity and keep an eye out of unauthorized access, train employees regarding security awareness,
 5   conduct audits, penetration testing, and system wide scans regularly to test for publicly known
 6   security vulnerabilities—all of which if properly implemented would have allowed Defendant to
 7   prevent this Data Breach.
 8          57.    Defendant failed to properly implement basic data security practices, allowing for
 9   this data breach to occur and victimizing thousands of people by failing to adhere to many of the
10   FTC protocols and allowing access to a hacker who was able to exfiltrate substantial amounts of
11   consumer data. Defendant should have a multifaceted security protocol in place, including a
12   program that adequately trains employees on recognizing and thwarting phishing and social
13   engineering attacks, monitoring out-of-network emails, segmenting the network, flagging
14   suspicious domain addresses or content, utilized multifactor authentication before allowing access
15   to highly sensitive information, mandating strict compliance with these protocols; mandating
16   regular archiving of email data/removal of sensitive data from emails to servers; avoiding
17   exchanging any sensitive data for patients over the emails, simulating social engineering attempts
18   to ensure compliance, increasing spam filtering via email gateways, implementing strict policies
19   regarding exchange of PII/PHI over emails, implementing and enforcing appropriate credential/key
20   procedures including finger print recognition/physical key authentication; monitoring systems 24/7
21   for any suspicious activity, encrypting data over the email exchanges. Had Defendant maintained
22   these and other proper protocols and regularly conducted audits to ensure its vulnerabilities and
23   training, it would have prevented this Data Breach.
24          58.    Plaintiff and Class Members provided their Private Information to Laboratory
25   Services Cooperative with the reasonable expectation and mutual understanding that Laboratory
26   Services Cooperative would comply with its obligations to keep such information confidential and
27   secure from unauthorized access.
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 1           59.    Laboratory Services Cooperative’s failure to provide adequate security measures to
 2   safeguard members’ Private Information is especially egregious because it operates in a field which
 3   has recently been a frequent target of scammers attempting to gain access to confidential PII/PHI.
 4   Impact of the Data Breach on Consumers
 5           60.    Plaintiff and the Class have suffered actual harm as a result of Defendant’s conduct.
 6   Defendant failed to institute adequate security measures that led to a data breach. This breach
 7   allowed hackers to access the Private Information of Plaintiff and the Class. Now that the Private
 8   Information has been accessed and absconded with, it is available for criminal elements to sell or
 9   trade and will continue to be at risk for the indefinite future. In fact, the U.S. Government
10   Accountability Office found that, “once stolen data have been sold or posted on the Web, fraudulent
11   use of that information may continue for years.” 31
12           61.    Plaintiff and Class Members are now vulnerable to a full gamut of cybercrimes, loss
13   in value of their property, and have been forced to take remedial action, as listed below:
14                                           Digital Phishing Scams
15           62.    Phishing scammers use emails and text messages to trick people into giving them
16   their personal information, including but not limited to passwords, account numbers, and social
17   security numbers. Phishing scams are frequently successful, and the FBI reported that people lost
18   approximately $18.7 million to such scams in 2023 alone. 32
19           63.    Defendant knew or should have known of the dangers of digital phishing scams.
20   When Personal Information is employed in a social engineering scheme, criminals can gain
21   unfettered access to individuals, or corporate databases, as the Data Breach itself evinces.
22           64.    Defendant’s patients are now more likely to become victims of digital phishing
23   attacks because of the compromised information.
24                                                  Loss of Time
25
     31
         See U.S. GOV’T ACCOUNTABILITY OFF. REPORT TO CONGRESSIONAL REQUESTERS                               29    2007.
26   https://www.gao.gov/new.items/d07737.pdf (last accessed April 16, 2025).
     32
             Internet     Crime       Report,      FEDERAL        BUREAU         OF     INVESTIGATION,            (2023),
27   https://www.ic3.gov/annualreport/reports/2023_ic3report.pdf scams (last accessed April 16, 2025).

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 1          65.    As a result of this breach, Plaintiff and impacted consumers will suffer unauthorized
 2   email solicitations and experience a significant increase in suspicious phishing scam activity via
 3   email, phone calls, and text messages following the breach. In addition, Plaintiff, as a result of the
 4   breach, has spent significant time and effort researching the breach, monitoring her accounts for
 5   fraudulent activity, and dealing with increased unsolicited emails and texts.
 6                                       Threat of Identity Theft
 7          66.    As a direct and proximate result of Defendant’s breach of confidence, and failure to
 8   protect Private Information, Plaintiff and the Class have also been injured by facing ongoing,
 9   imminent, impending threats of identity theft crimes, fraud, scams, and other misuse of this Private
10   Information, resulting in ongoing monetary loss and economic harm, loss of value of privacy and
11   confidentiality of the stolen Private Information, illegal sales of the compromised Private
12   Information on the black market, mitigation expenses and time spent on credit monitoring, identity
13   theft insurance, credit freezes/unfreezes, expenses and time spent in initiating fraud alerts,
14   contacting third parties, decreased credit scores, lost work time, and other injuries. Defendant,
15   through its misconduct, has enabled numerous bad actors to sell and profit off of Private
16   Information that belongs to Plaintiff.
17                                            Out of Pocket Costs
18          67.    Plaintiff is now forced to research and subsequently acquire credit monitoring and
19   reasonable identity theft defensive services and maintain these services to avoid further impact.
20   Plaintiff anticipates spending out of pocket expenses to pay for these services.
21                         Diminution in Value of a Valuable Property Right
22          68.    Because personal data is valuable personal property, market exchanges now exist
23   where internet users like Plaintiff and Class Members can sell or monetize their own personal data.
24          69.    In fact, the data marketplace is so sophisticated that consumers can sell their non-
25   public information directly to a data broker who in turn aggregates the information and provides it
26

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 1   to legitimate marketers or app developers. 33 For example, consumers who agree to provide their
 2   web browsing history to the Nielsen Corporation can receive up to $50.00 a year. 34
 3           70.    Accordingly, as a result of the Data Breach, Plaintiff lost the sale value of her Private
 4   Information and the opportunity to control how it is used. That a threat actor specifically targeted
 5   Defendant demonstrates just how valuable Plaintiff’s Private Information can be to hackers and the
 6   significant value of Plaintiff’s Private Information to cybercriminals.
 7                                   Loss of Privacy and Dignitary Harm
 8           71.    A data breach represents a significant violation of privacy, extending far beyond the
 9   mere loss of data. When sensitive personal information is compromised, individuals face a cascade
10   of potential harm that erodes their sense of security and control, as information that they thought
11   would remain confidential and private has now been leaked to the outside world, and which they
12   no longer exercise control over. This exposure can lead to a profound sense of vulnerability, as
13   individuals grapple with the knowledge that their most personal details are now in the hands of
14   unknown actors, free to circulate and be publicized now, or at any time in the future.
15           72.    Information regarding an individual’s health and medical choices, such as here, is
16   one of the most personal and private types of information that exists. An individual’s right to
17   privacy regarding their body, their medical care, and their reproductive choices are some of the
18   most sacrosanct and inviolable rights an individual can possess. Harm relating to an individual’s
19   loss of privacy and dignitary harm has also long been recognized by courts and in the common law.
20           73.    When an individual loses this privacy and their personal health and medical
21   information is made public, such as here through its acquisition by criminal third parties, this harm
22   cannot be undone. Defendant’s failure to safeguard this sensitive information has stripped Plaintiff
23   and the Class Members of this essential control, exposing them to the potential for enduring
24   emotional distress and the profound sense of vulnerability that accompanies the public exposure of
25

26   33
       See, e.g., The Personal Data Revolution, DATACOUP, https://datacoup.com/.
     34
              Nielsen      Computer        &       Mobile        Panel,      Frequently       Asked           Questions,
27   https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last accessed April 16, 2025).

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 1   deeply private matters.
 2          74.    This is a fundamental violation of an individual’s control over their own personal
 3   narrative and image to which they provide the world. By stripping Plaintiff and the Class Members
 4   of their right to control this information about themselves, Defendant has done immense harm to
 5   their rights to privacy as well as their personal dignity and bodily sovereignty. As a result, while
 6   difficult to quantify, this harm is very real, long-lasting, and severe and has caused real damage to
 7   Plaintiff and the Class Members, both emotionally as well as through their permanent loss of
 8   security and fundamental right to privacy and bodily autonomy.
 9                     Summary of Actual Economic and Noneconomic Damages
10          75.    In sum, Plaintiff and similarly situated individuals were injured as follows:
11                    i.   Theft of their Private Information and the resulting loss of privacy rights in
12                         that information;
13                   ii.   Improper disclosure of their Private Information and the accompanying loss
14                         of privacy and dignitary harm;
15                  iii.   Loss of value of their Private Information;
16                  iv.    The amount of ongoing reasonable identity defense and credit monitoring
17                         services made necessary as mitigation measures;
18                   v.    Defendant’s retention of profits attributable to Plaintiff’s and other patients’
19                         Private Information that Defendant failed to adequately protect;
20                  vi.    Economic and non-economic impacts that flow from the imminent, and
21                         ongoing threat of fraud and identity theft to which Plaintiff is now exposed;
22                 vii.    Ascertainable out-of-pocket expenses and the value of Plaintiff’s time
23                         allocated to fixing or mitigating the effects of this data breach;
24                 viii.   Overpayments for Defendant’s services;
25                  ix.    Emotional distress, and fear associated with the imminent threat of harm
26                         from the continued phishing scams and attacks as a result of this data
27                         breach.
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 1   Defendant Should Have Invested in Appropriate & Necessary Data Security
 2           76.    In the years immediately preceding the Data Breach, Defendant knew or should have
 3   known that its computer systems were a target for cybersecurity attacks.
 4           77.    The FBI, FTC, GAO, U.S. Secret Service, United States Cybersecurity and
 5   Infrastructure Security Agency, State Attorney General Offices and many other government and
 6   law enforcement agencies, and hundreds of private cybersecurity and threat intelligence firms, have
 7   issued warnings that put Defendant on notice, long before the Data Breach, that (1) cybercriminals
 8   were targeting companies who store personal health information, such as Defendant; (2)
 9   cybercriminals were ferociously aggressive in their pursuit of large collections of Private
10   Information like that in possession of Defendant; (3) cybercriminals were selling large volumes of
11   Private Information and corporate information on Dark Web portals; and (4) the threats were
12   increasing.
13           78.    Had Defendant been diligent and responsible, it would have implemented the basic
14   cyber security steps necessary to protect the Private Information in its possession, by addressing
15   the key vulnerabilities:
16
                         •   Lack of a complete risk assessment, including internal, third-party, and
17
                             cloud-based systems and services;
18                       •   Not promptly patching known/public vulnerabilities, and not having a way
                             to process vulnerability reports;
19                       •   Misconfigured devices/servers;
                         •   Unencrypted data and/or poor encryption key management and
20                           safeguarding;
                         •   Use of end-of-life (and thereby unsupported) devices, operating systems,
21
                             and applications;
22                       •   Employee errors and accidental disclosures — lost data, files, drives,
                             devices, computers, improper disposal;
23                       •   Failure to block malicious email; and
                         •   Users succumbing to business email compromise (BEC) and social
24                           exploits. 35
25

26   35
        Gretel Egan, OTA Report Indicates 93% of Security Breaches Are Preventable, PROOFPOINT (Feb. 7, 2018),
     https://www.proofpoint.com/us/security-awareness/post/ota-report-indicates-93-security-breaches-are-preventable
27   (last accessed April 16, 2025April 17, 2025 ).

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 2          79.    Considering the information and warnings readily available to Defendant before the

 3   Data Breach, Defendant had reason to be on guard and to increase data security to avoid an attack.

 4          80.    Prior to the Data Breach, Defendant thus knew or should have known that there was

 5   a foreseeable risk that Plaintiff’s and Class Members’ Private Information could be accessed,

 6   exfiltrated, and utilized by nefarious individuals as the result of a cyberattack.

 7          81.    Data security experts advise that “the vast majority of data breaches are preventable”

 8   if companies follow widely-available advice on data security practices, including “continually

 9   audit[ing] and reevaluat[ing]” their data security practices; being aware of and working proactively

10   to counter cybercriminals’ evolving techniques and approaches; and training and re-training their

11   employees. 36 Had Defendant maintained proper data security practices, this data breach too could

12   have been prevented.

13                                       CLASS ALLEGATIONS

14          82.    Plaintiff brings this action on her own behalf and on behalf of all other persons

15   similarly situated. The Class which Plaintiff seeks to represent comprises:

16                Nationwide Class:
                  All individuals whose Private Information was exposed while in the possession of
17                Defendant, or any of its subsidiaries and/or agents, during the Data Breach.
18
                  California Subclass:
19
                  All individuals who were citizens or residents of California when doing business with
20                Defendant, whose Private Information was exposed while in the possession of
                  Defendant, or any of their subsidiaries and/or agents, during the Data Breach.
21

22   This definition may be further defined or amended by additional pleadings, evidentiary hearings, a

23   class certification hearing, and orders of this Court.

24          83.    The Class is comprised of approximately 1,600,000 of Laboratory Services

25   Cooperative’s patients who provided their Private Information, to Defendant, directly or indirectly,

26   36
            Nate Nead, How To Prevent A Data Breach In Your Company, FORBES (Jul. 30, 2021),
     https://www.forbes.com/sites/forbesbusinesscouncil/2021/07/30/how-to-prevent-a-data-breach-in-your-
27   company/?sh=3828f7b918da (last accessed April 16, 2025April 17, 2025).

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 1   in order to obtain medical services in the past and were part of the Data Breach (the “Class
 2   Members”). The Class is so numerous that joinder of all members is impracticable and the
 3   disposition of their claims in a class action will benefit the parties and the Court.
 4          84.    There is a well-defined community of interest in the questions of law and fact
 5   involved affecting the parties to be represented in that the Class was exposed to the same common
 6   and uniform false and misleading advertising and omissions. The questions of law and fact common
 7   to the Class predominate over questions which may affect individual Class members. Common
 8   questions of law and fact include, but are not limited to, the following:
 9                     a. Whether Defendant’s conduct is an unlawful business act or practice within
10                         the meaning of California Business and Professions Code § 17200, et seq.,
11                         the Unfair Competition Law (UCL), which prohibits unfair, unlawful, or
12                         fraudulent business practices that harm consumers and competitors;
13                     b. Whether Defendant’s conduct is in violation of California Civil Code § 56,
14                         et seq., the Confidentiality of Medical Information Act (CMIA);
15                     c. Whether Defendant’s conduct is in violation of California Civil Code
16                         §§1709 and 1710;
17                     d. Whether Defendant’s failure to implement effective security measures to
18                         protect Plaintiff’s and the Class’s Private Information was negligent;
19                     e. Whether Defendant breached express and implied warranties of security to
20                         the Class;
21                     f. Whether Defendant represented to Plaintiff and the Class that it would
22                         protect Plaintiff’s and the Class Members’ Private Information;
23                     g. Whether Defendant owed a duty to Plaintiff and the Class to exercise due
24                         care in collecting, storing, and safeguarding their Private Information;
25                     h. Whether Defendant breached a duty to Plaintiff and the Class to exercise
26                         due care in collecting, storing, and safeguarding their Private Information;
27

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 1                    i. Whether Class Members’ Private Information was accessed, compromised,
 2                         or stolen in the Data Breach;
 3                    j. Whether Defendant’s conduct caused or resulted in damages to Plaintiff and
 4                         the Class;
 5                    k. Whether Defendant failed to notify the public of the breach in a timely and
 6                         adequate manner;
 7                    l. Whether Defendant knew or should have known that its systems, including
 8                         but not limited to training protocols and policies, left it vulnerable to the
 9                         Data Breach;
10                    m. Whether Defendant adequately addressed the vulnerabilities that allowed
11                         for the Data Breach; and
12                    n. Whether, as a result of Defendant’s conduct, Plaintiff and the Class are
13                         entitled to damages and relief.
14          85.    Plaintiff’s claims are typical of the claims of the proposed Class, as Plaintiff and Class
15   Members were harmed by Defendant’s uniform unlawful conduct.
16          86.    Plaintiff will fairly and adequately represent and protect the interests of the proposed
17   Class. Plaintiff has retained competent and experienced counsel in class action litigation and other
18   complex litigation.
19          87.    Plaintiff and the Class have suffered injury because of Defendant’s false, deceptive,
20   and misleading representations.
21          88.    Plaintiff would not have allowed Defendant to have access to her Private Information
22   but for the reasonable belief that Defendant would safeguard her data and Private Information.
23          89.    The Class is identifiable and readily ascertainable. Notice can be provided to such
24   patients using techniques and a form of notice similar to those customarily used in class actions,
25   and by internet publication, radio, newspapers, and magazines.
26

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 1          90.      A class action is superior to other available methods for fair and efficient adjudication
 2   of this controversy. The expense and burden of individual litigation would make it impracticable
 3   or impossible for proposed members of the Class to prosecute their claims individually.
 4          91.      The litigation and resolution of the Class’s claims are manageable. Individual
 5   litigation of the legal and factual issues raised by Defendant’s conduct would increase delay and
 6   expense to all parties and the court system. The class action device presents far fewer management
 7   difficulties and provides the benefits of a single, uniform adjudication, economies of scale, and
 8   comprehensive supervision by a single court.
 9          92.      Defendant has acted on grounds generally applicable to the entire Class, thereby
10   making final injunctive relief and/or corresponding declaratory relief appropriate with respect to
11   the Class as a whole. The prosecution of separate actions by individual Class Members would create
12   the risk of inconsistent or varying adjudications with respect to individual member of the Class that
13   would establish incompatible standards of conduct for Defendant.
14          93.      Absent a class action, Defendant will likely retain the benefits of its wrongdoing.
15   Because of the small size of the individual Class Members’ claims, few, if any, Class Members
16   could afford to seek legal redress for the wrongs complained of herein. Absent a representative
17   action, Class Members will continue to suffer losses and Defendant (and similarly situated
18   companies) will be allowed to continue these violations of law and to retain the proceeds of its ill-
19   gotten gains.
20                                                COUNT ONE
21                VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
22                   BUSINESS & PROFESSIONS CODE SECTION 17200, et seq.
23                                  (On Behalf of the California Subclass)
24          94.      Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
25   incorporates all allegations in all preceding paragraphs.
26   ///
27   ///
28                                                                  COTCHETT, PITRE & McCARTHY, LLP
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 1                                        A.    “Unfair” Prong
 2          95.    Under California’s Unfair Competition Law, Cal. Bus. & Prof. Code Section 17200,
 3   et seq., a challenged activity is “unfair” when “any injury it causes outweighs any benefits provide
 4   to consumers and the injury is one that the consumers themselves could not reasonably avoid.”
 5   Camacho v. Auto Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
 6          96.    Defendant’s conduct as alleged herein does not confer any benefit to consumers.
 7   Mishandling this data shows blatant disregard for its patients’ privacy and security.
 8          97.    Defendant’s conduct as alleged herein causes injuries to consumers who do not
 9   receive services consistent with their reasonable expectations. Specifically, Defendant’s patients
10   would not have reason to believe that simply doing business with Defendant would place their
11   Private Information in the hands of cybercriminals.
12          98.    Defendant’s conduct as alleged herein causes injuries to its patients, who entrusted
13   Defendant with their Private Information and whose Private Information was leaked as a result of
14   Defendant’s unlawful conduct.
15          99.    Defendant’s failure to implement and maintain reasonable security measures was also
16   contrary to legislatively-declared public policy that seeks to protect consumers’ data and ensure
17   entities that are trusted with it use appropriate security measures. These policies are reflected in
18   law, including the FTC Act, 15 U.S.C. §45, Cal. Civ. Code §1798.81.5, and California’s Consumer
19   Privacy Act, Cal. Civ. Code § 1798.100.
20          100. Defendant’s patients cannot avoid any of the injuries caused by Defendant’s conduct
21   as alleged herein.
22          101. The injuries caused by Defendant’s conduct as alleged herein outweigh any benefits.
23          102. Defendant’s conduct, as alleged in the preceding paragraphs, is false, deceptive,
24   misleading, and unreasonable and constitutes an unfair business practice within the meaning of
25   California Business and Professions Code Section 17200.
26          103. Defendant could have furthered its legitimate business interests in ways other than its
27   unfair conduct.
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 1          104. Defendant’s conduct threatens members by failing to protect Plaintiff and the Class
 2   Members’ Private Information from being exposed to hackers. Defendant’s conduct also threatens
 3   other entities, large and small, who play by the rules. Defendant’s conduct stifles competition, has
 4   a negative impact on the marketplace, and reduces consumer choice.
 5          105. All the conduct alleged herein occurs and continues to occur in Defendant’s
 6   operations. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct
 7   repeated consistently.
 8          106. Pursuant to Business and Professions Code Sections 17203, Plaintiff and the Class
 9   seek an order of this Court enjoining Defendant from continuing to engage, use, or employ its unfair
10   business practices.
11          107. Plaintiff and the Class have suffered injury-in-fact and have lost money or property
12   as a result of Defendant’s unfair conduct. Plaintiff accordingly provided her Private Information to
13   Defendant reasonably believing and expecting that her Private Information would be safe and
14   secure. Plaintiff paid an unwarranted premium for the services she received.
15          108. Plaintiff and the Class would not have given Defendant their Private Information had
16   they known that their Private Information was vulnerable to a data breach. Plaintiff and Class
17   Members seek an order mandating that Defendant implement adequate security practices to protect
18   patients’ Private Information. Additionally, Plaintiff and Class Members seek an order awarding
19   Plaintiff and the Class restitution of the money wrongfully acquired by Defendant by means of
20   Defendant’s unfair and unlawful practices.
21                                     B.     “Fraudulent” Prong
22          109. California Business and Professions Code Section 17200, et seq. considers conduct
23   fraudulent and prohibits said conduct if it is likely to deceive members of the public. Bank of the
24   West v. Superior Court, 2 Cal. 4th 1254, 1267 (1992).
25          110. Defendant’s implicit representations that it adequately protects consumer information
26   are likely to deceive members of the public into believing that Defendant can be entrusted with
27

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 1   Private Information, and that Private Information gathered by Defendant is not in danger of being
 2   compromised.
 3          111. Defendant’s implied representations about its commitments to data security, as
 4   alleged in the preceding paragraphs, are false, deceptive, misleading, and unreasonable and
 5   constitute fraudulent conduct.
 6          112. Defendant knew or should have known of its fraudulent conduct.
 7          113. As alleged in the preceding paragraphs, the material misrepresentations by Defendant
 8   detailed above constitute a fraudulent business practice in violation of California Business &
 9   Professions Code Section 17200.
10          114. Defendant could have implemented robust security measures to prevent the Data
11   Breach but failed to do so.
12          115. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct.
13          116. Pursuant to Business & Professions Code Section 17203, Plaintiff and the Class seek
14   an order from this Court enjoining Defendant from continuing to engage, use, or employ its practice
15   of false and deceptive representations about the strength or adequacy of its security systems.
16   Likewise, Plaintiff and the Class seek an order requiring Defendant to disclose such
17   misrepresentations.
18          117. Plaintiff and the Class have suffered injury in fact and have lost money as a result of
19   Defendant’s fraudulent conduct. Plaintiff paid an unwarranted premium for the services she
20   received. Specifically, Plaintiff believed that her information would be secure with Defendant when
21   she did business with them, when Defendant in fact failed to institute adequate security measures
22   and neglected vulnerabilities that led to the Data Breach.
23          118. Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff and
24   the Class seek an order of this Court compelling Defendant to implement adequate safeguards to
25   protect consumer Private Information retained by Defendant. This includes, but is not limited to
26   improving security systems, deleting data that no longer needs to be retained by Defendant,
27   archiving that data on secure servers, adopting adequate and robust training policies and protocols
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 1   for all employees entrusted with access to Personal Information and notifying all affected
 2   consumers in a timely manner.
 3                                      C.    “Unlawful” Prong
 4          119. California Business and Professions Code Section 17200, et seq., identifies violations
 5   of any state or federal law as “unlawful practices that the unfair competition law makes
 6   independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D.
 7   Cal. 2008).
 8          120. Defendant’s unlawful conduct, as alleged in the preceding paragraphs, violates
 9   California Civil Code Section 1750, et seq.
10          121. Defendant’s conduct, as alleged in the preceding paragraphs, is false, deceptive,
11   misleading, and unreasonable and constitutes unlawful conduct.
12          122. Defendant has engaged in “unlawful” business practices by violating multiple laws,
13   including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring reasonable
14   data security measures) and 1798.82 (requiring timely breach notification), the FTC Act, 15 U.S.C.
15   § 45, California’s Confidentiality of Medical Information Act, Cal. Civ. Code § 56, California’s
16   Consumer Privacy Act, Cal. Civ. Code § 1798.100, and California common law.
17          123. Defendant knew or should have known of its unlawful conduct.
18          124. As alleged in the preceding paragraphs, the misrepresentations and failure to disclose
19   the lack of data security by Defendant detailed above constitute an unlawful business practice
20   within the meaning of California Business and Professions Code section 17200.
21          125. Defendant could have furthered its legitimate business interests in ways other than
22   by its unlawful conduct.
23          126. All of the conduct alleged herein occurs and continues to occur in Defendant’s
24   business. Defendant’s unlawful conduct is part of a pattern or generalized course of conduct
25   repeated on approximately thousands of occasions daily.
26

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 1          127. Pursuant to Business and Professions Code Sections 17203, Plaintiff and the Class
 2   seek an order of this Court enjoining Defendant from continuing to engage, use, or employ its
 3   unlawful business practices.
 4          128. Plaintiff and the Class have suffered injury-in-fact and have lost money or property
 5   as a result of Defendant’s unfair conduct. Plaintiff and the Class would not have given Defendant
 6   their Private Information, had they known that their Private Information was vulnerable to a data
 7   breach. Likewise, Plaintiff and Class Members seek an order mandating that Defendant implement
 8   adequate security practices to protect members’ Private Information. Additionally, Plaintiff and the
 9   Class Members seek and request an order awarding Plaintiff and the Class restitution of the money
10   wrongfully acquired by Defendant by means of Defendant’s unfair and unlawful practices.
11          129. No adequate remedy at law. Plaintiff and the Class are entitled to equitable relief as
12   no adequate remedy at law exists.
13          130. Defendant has not yet implemented adequate protections to prevent a future data
14   breach, nor has it given an adequate notice to all affected class members, and therefore, the
15   equitable relief requested here would prevent ongoing and future harm;
16          131. Injunctive relief is also necessary to prevent the members of general public from
17   being misled by Defendant’s misrepresentations regarding privacy and security of information;
18          132. The equitable relief under the UCL (and also under unjust enrichment discussed
19   below) creates a straightforward cause of action for violations of law (such as statutory or regulatory
20   requirements related to representations and omissions made with respect to Defendant’s services).
21   Furthermore, damages for non-UCL claims require additional elements or pre-suit notice letters,
22   which would potentially eliminate the possibility of providing damages to the entire class, while
23   restitution would provide certainty and remedy for all affected victims.
24          133. In addition, discovery—which has not yet been provided and/or completed—may
25   reveal that the claims providing legal remedies are inadequate. At this time, forcing an election of
26   remedies at the initial pleadings stage, in the absence of completed discovery regarding class
27   certification and merits, is premature and likely to lead to subsequent, potentially belated, and hotly
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 1   contested motions to amend the pleadings to add equitable remedies based on a lengthy historical
 2   recount of discovery and analysis of voluminous exhibits, transcripts, discovery responses,
 3   document productions, etc., as well as related motions to seal confidential information contained
 4   therein.
 5                                            COUNT TWO
 6    VIOLATION OF CALIFORNIA CONFIDENTIALITY OF MEDICAL INFORMATION
 7                     ACT, CALIFORNIA CIVIL CODE SECTION 56, et seq.
 8                                (On Behalf of the California Subclass)
 9           134. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
10   incorporates all allegations in all preceding paragraphs.
11           135. Defendant is subject to the requirements and mandates of the CMIA because it is a
12   “contractor” and/or “provider of health care” pursuant to Cal. Civ. Code § 56.06.
13           136. CMIA section 56.36 allows an individual to bring an action against a “person or entity
14   who has negligently released confidential information or records concerning him or her in violation
15   of this part.”
16           137. As a direct result of its negligent failure to adequately protect the data it collected
17   from the Plaintiff and Class Members, Defendant allowed for a Data Breach which released the PII
18   and PHI of Plaintiff and the Class Members to criminals and/or third parties.
19             138. The CMIA defines “medical information” as “any individually identifiable
20   information, in electronic or physical form, in possession of or derived from a provider of health
21   care ... regarding a patient's medical history, mental or physical condition, or treatment.”
22           139. The CMIA defines individually identifiable information as “medical information
23   [that] includes or contains any element of personal identifying information sufficient to allow
24   identification of the individual, such as the patients name, address, electronic mail address,
25   telephone number, or social security number, or other information that, alone or in combination
26   with other publicly available information, reveals the individual's identity.” Cal. Civ. Code §
27   56.050.
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 1          140. Defendant is in possession of affected individuals’ medical information, as it has
 2   indicated that its patients’ medical and clinical information, including diagnoses, treatment
 3   information, medical record numbers, and more, was lost in the data breach. Thus, information
 4   relating to the diagnosis and treatment of patients, at minimum, was exposed in the data breach.
 5   Further, the compromised data was individually identifiable because it was accompanied by
 6   elements sufficient to allow identification of Plaintiff by the third parties to whom the data was
 7   disclosed. Class Members’ PII was included in the Data Breach.
 8          141. Defendant came into possession of Plaintiff’s and Class Members’ medical
 9   information and had a duty pursuant to Section 56.06 and 56.101 of the CMIA to maintain, store
10   and dispose of the Plaintiff’s and Class Members’ medical records in a manner that preserved their
11   confidentiality. Sections 56.06 and 56.101 of the CMIA prohibit the negligent creation,
12   maintenance, preservation, store, abandonment, destruction, or disposal of confidential medical
13   information.
14          142. Defendant further violated the CMIA by failing to use reasonable care, and, in fact,
15   negligently maintained Plaintiff’s and Class Members’ medical information, allowing and enabling
16   a threat actor to view and access unencrypted PHI for Class Members.
17          143. As a direct and proximate result of Defendant’s violations of the CMIA, Plaintiff and
18   Class Members have been injured and are entitled to compensatory damages, punitive damages,
19   and nominal damages of one-thousand dollars ($1,000) for each of Defendant’s violations of the
20   CMIA, as well as attorneys’ fees and costs pursuant to Cal. Civ. Code § 56.36.
21                                           COUNT THREE
22     DECEIT BY CONCEALMENT, CALIFORNIA CIVIL CODE SECTIONS 1709, 1710
23                                (On Behalf of the California Subclass)
24          144. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
25   incorporates all allegations in all preceding paragraphs.
26          145. Defendant knew or should have known that its internal systems were inadequate to
27   protect Class Members’ Private Information. Specifically, Defendant had an obligation to disclose
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 1   to its patients that its internal systems were not adequate to safeguard their Private Information.
 2   Defendant did not do so. Rather, Defendant deceived Plaintiff and the Class by concealing the
 3   vulnerabilities in its systems.
 4           146. Even after Defendant discovered the Data Breach had impacted sensitive Private
 5   Information, it concealed it, and waited nearly six months before announcing it to the public so
 6   consumers could know and take precautions against the Data Breach.
 7           147. California Civil Code §1710 defines deceit as, (a) “[t]he suggestion, as a fact, of that
 8   which is not true, by one who does not believe it to be true”; (b) “[t]he assertion, as a fact, of that
 9   which is not true, by one who has no reasonable ground for believing it to be true”; (c) “[t]he
10   suppression of a fact, by one who is bound to disclose it, or who gives information of other facts
11   which are likely to mislead for want of communication of that fact”; or (d) “[a] promise, made
12   without any intention of performing it.” Defendant’s conduct as described herein therefore
13   constitutes deceit of Plaintiff and the Class.
14           148. California Civil Code §1709 mandates that in willfully deceiving Plaintiff and the
15   Class with intent to induce or alter their position to their injury or risk, Defendant is liable for any
16   damages which Plaintiff and the Class thereby suffer.
17           149. As described above, Plaintiff and the Class have suffered significant harm as a direct
18   and proximate result of Defendant’s deceit and other unlawful conduct. Had Defendant been
19   truthful about its security vulnerabilities or had promptly and adequately notified affected parties
20   that their information had been compromised, Plaintiff and the Class would not have suffered some,
21   if not all, of the harms attributable to the Data Breach. Specifically, Plaintiff and the Class have
22   been subject to numerous attacks, including an increase in spam texts and other scam attempts.
23   Defendant is liable for these damages as well.
24   ///
25   ///
26   ///
27   ///
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 1                                            COUNT FOUR
 2                                           NEGLIGENCE
 3                                 (On Behalf of the Nationwide Class)
 4          150. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 5   incorporates all allegations in all preceding paragraphs.
 6          151. Defendant owed a duty to Plaintiff and the Class to exercise due care in collecting,
 7   storing, and safeguarding their Private Information. This duty included but was not limited to: (a)
 8   designing, implementing, and testing security systems to ensure that consumers’ Private
 9   Information was consistently and effectively protected; (b) implementing security systems that are
10   compliant with state and federal mandates; (c) implementing security systems that are compliant
11   with industry practices; and (d) promptly detecting and notifying affected parties of a data breach.
12          152. Defendant’s duties to use reasonable care arose from several sources, including those
13   described below. Defendant had a common law duty to prevent foreseeable harm to others,
14   including Plaintiff and Class Members, who were the foreseeable and probable victims of any
15   inadequate security practices.
16          153. Defendant had a special relationship with Plaintiff and Class Members, which is
17   recognized by laws and regulations, as well as common law. Defendant was in a position to ensure
18   that its systems were sufficient to protect against the foreseeable risk of harm to class members
19   from a data breach. Plaintiff and Class Members were compelled to entrust Defendant with their
20   Private Information. At relevant times, Plaintiff and Class members understood that Defendant
21   would take adequate security precautions to safeguard that information. Only Defendant had the
22   ability to protect Plaintiff’s and Class Members’ Private Information it held.
23          154. Defendant knew or should have known that Plaintiff’s and the Class Members’
24   Private Information is information that is frequently sought after by criminals.
25          155. Defendant knew or should have known that Plaintiff and the Class members would
26   suffer harm if their Private Information was leaked.
27

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 1          156. Defendant knew or should have known that its security systems were not adequate to
 2   protect Plaintiff’s and the Class Members’ Private Information from a data breach.
 3          157. Defendant knew or should have known that adequate and prompt notice of the Data
 4   Breach was required such that Plaintiff and the Class could have taken more swift and effective
 5   action to change or otherwise protect their Private Information. Defendant failed to provide timely
 6   notice upon discovery of the data breach. Class Members were informed of the data breach on April
 7   10, 2025, with many not receiving actual notice. Defendant had learned of the data breach nearly
 8   six months prior, in October 2024.
 9          158. Defendant’s conduct as described above constituted an unlawful breach of its duty to
10   exercise due care in collecting, storing, and safeguarding Plaintiff’s and the Class Members’ Private
11   Information by failing to design, implement, and maintain adequate security measures to protect
12   this information. Moreover, Defendant did not implement, design, or maintain adequate measures
13   to detect a data breach when it occurred.
14          159. Defendant’s conduct as described above constituted an unlawful breach of its duty to
15   provide adequate and prompt notice of the data breach.
16          160. Plaintiff’s and the Class Members’ Private Information would have remained private
17   and secure had it not been for Defendant’s wrongful and negligent breach of its duties. The leak of
18   Plaintiff’s and the Class Members’ Private Information, and all subsequent damages, was a direct
19   and proximate result of Defendant’s negligence.
20          161. Defendant’s negligence was, at least, a substantial factor in causing Plaintiff’s and
21   the Class’s Private Information to be improperly accessed, disclosed, and otherwise compromised,
22   and in causing Class Members’ other injuries arising out of the Data Breach.
23          162. The damages suffered by Plaintiff and the Class were the direct and reasonably
24   foreseeable result of Defendant’s negligent breach of its duties to adequately design, implement,
25   and maintain security systems to protect Plaintiff’s and Class Members’ Private Information.
26          163. Defendant knew or should have known that its security for safeguarding Plaintiff’s
27   and Class Members’ Private Information was inadequate and vulnerable to a data breach.
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 1           164. Defendant’s negligence directly caused significant harm to Plaintiff and Members of
 2   the Class.
 3                                             COUNT FIVE
 4                              BREACH OF EXPRESS WARRANTY
 5                                  (On Behalf of the Nationwide Class)
 6           165. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 7   incorporates all allegations in all preceding paragraphs.
 8           166. Defendant made an express warranty to Plaintiff and Class Members that it is
 9   committed to protecting the Private Information entrusted to it, by representing the same to
10   Plaintiff’s and the Class Members’ medical providers. In order to obtain Defendant’s services,
11   Plaintiff and Class Members were required to provide their Private Information which they
12   reasonably believed, based on their medical providers express representations, would be kept
13   private and secure.
14           167. Defendant’s express warranties regarding its security standards made to Plaintiff and
15   the Class appear throughout Planned Parenthood’s Privacy Policy, which explicitly applies not only
16   to Planned Parenthood itself but also to its affiliates, including Laboratory Services Cooperative. 37
17   The promise of security is associated with the offerings and services, and therefore becomes the
18   basis of the bargain.
19           168. Plaintiff and the Class engaged in business with Defendant, including entrusting it
20   with their Private Information, with the expectation that the information they provided would be
21   kept safe, secure, and private in accordance with the express warranties made by Defendant through
22   Planned Parenthood’s website and Privacy Policy.
23           169. Defendant breached the express warranties made to Plaintiff and Class Members by
24   failing to provide adequate security to safeguard Plaintiff’s and the Class’s Private Information. As
25

26
     37
        Privacy Policy, PLANNED PARENTHOOD, https://www.plannedparenthood.org/planned-parenthood-california-
27   central-coast/privacy-policy#fullpolicy (last accessed April 16, 2025April 17, 2025).

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 1   a result, Plaintiff and Class Members suffered injury and deserve to be compensated for the
 2   damages they suffered.
 3          170. Plaintiff and Class Members paid money to purchase services from Defendant.
 4   However, Plaintiff and Class Members did not obtain the full value of the advertised services. If
 5   Plaintiff and other Class Members had known that their Private Information would be exposed as
 6   a result of their purchasing the services, then they would not have purchased the services.
 7          171. Plaintiff and the Class are therefore entitled to recover all available remedies for said
 8   breach of express warranty, as this Court deems proper.
 9                                            COUNT SIX
10                              BREACH OF IMPLIED CONTRACT
11                                 (On Behalf of the Nationwide Class)
12          172. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
13   incorporates all allegations in all preceding paragraphs.
14          173. At all relevant times, Defendant had a duty, or undertook and/or assumed a duty, to
15   implement a reasonable data privacy and cybersecurity protocol, including adequate prevention,
16   detection, and notification procedures, in order to safeguard the Private Information of Plaintiff and
17   the Class Members, and to prevent the unauthorized access to and disclosures of this data.
18          174. Among other things, Plaintiff and Class Members were required to disclose their
19   Private Information to Defendant when doing business with it, as well as implied contracts for the
20   Defendant to implement data security adequate to safeguard and protect the privacy of Plaintiff’s
21   and Class Members’ Private Information.
22          175. When Plaintiff and Class Members provided their Private Information to Defendant,
23   they entered into implied contracts with Defendant pursuant to which Defendant agreed to
24   reasonably protect such information.
25          176. By entering into such implied contracts, Plaintiff and Class Members reasonably
26   believed and expected that Defendant’s data security practices complied with relevant laws and
27   regulations and were consistent with industry standards.
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 1            177. Under implied contracts, Defendant and/or their affiliated providers promised and
 2   were obligated to protect Plaintiff’s and Class Members’ Private Information. In exchange, Plaintiff
 3   and Members of the Class agreed to turn over their Private Information.
 4            178. Defendant’s express representations, including, but not limited to the express
 5   representations found in their notices of privacy practices, memorialize and embody the implied
 6   contractual obligations requiring Defendant to implement data security adequate to safeguard and
 7   protect the privacy of Plaintiff’s and Class Members’ Private Information.
 8            179. Plaintiff and Class Members performed their obligations under the contract when
 9   they provided their Private Information in consideration for Defendant’s services.
10            180. Defendant materially breached its contractual obligations to protect the Private
11   Information it gathered when the information was accessed and exfiltrated during the Data Breach.
12            181. Defendant materially breached the terms of the implied contracts, including, but not
13   limited to, the terms stated in the relevant notices of privacy practices. Defendant did not maintain
14   the privacy of Plaintiff’s and Class Members’ Private Information as evidenced by its notification
15   of the Data Breach to Plaintiff and Class Members.
16            182. The Data Breach was a reasonably foreseeable consequence of Defendant’s actions
17   in breach of these contracts.
18            183. As a result of Defendant’s failure to fulfill the data security protections promised in
19   these contracts, Plaintiff and Class Members did not receive full benefit of the bargain they entered
20   into.
21            184. Had Defendant disclosed that its security was inadequate or that it did not adhere to
22   industry-standard security measures, neither Plaintiff, Class Members, nor any reasonable person
23   would have entered into the aforementioned contracts with Defendant.
24            185. As a direct and proximate result of the data breach, Plaintiff and Class Members have
25   been harmed and suffered, and will continue to suffer, actual damages and injuries, including
26   without limitation the release and disclosure of their Private Information, the loss of control of their
27

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 1   Private Information, the imminent risk of suffering additional damages in the future, out of pocket
 2   expenses, and the loss of the benefit of the bargain they had struck with Defendant.
 3                                           COUNT SEVEN
 4                                    BREACH OF CONFIDENCE
 5                                 (On Behalf of the Nationwide Class)
 6          186. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 7   incorporates all allegations in all preceding paragraphs.
 8          187. Plaintiff and Class Members maintained a confidential relationship with Defendant
 9   whereby Defendant undertook a duty not to disclose to unauthorized parties the Plaintiff’s and
10   Class Members’ Private Information to unauthorized third parties. Such Private Information was
11   confidential and novel, highly personal and sensitive, and not generally known.
12          188. Defendant knew Plaintiff’s and Class Members’ Private Information was being
13   disclosed in confidence and understood the confidence was to be maintained, including by
14   expressly and implicitly agreeing to protect the confidentiality and security of the Private
15   Information it collected, stored, and maintained.
16          189. As a result of the Data Breach, there was an unauthorized disclosure of Plaintiff’s
17   and Class Members’ Private Information in violation of this understanding. The unauthorized
18   disclosure occurred because Defendant failed to implement and maintain reasonable safeguards to
19   protect the Private Information in its possession and failed to comply with industry-standard data
20   security practices.
21          190. Plaintiff and Class Members were harmed by way of an unconsented disclosure of
22   their confidential information to an unauthorized third party.
23          191. But for Defendant’s disclosure of Plaintiff’s and Class Members’ Private Information
24   in violation of the parties’ understanding of confidence, their Private Information would not have
25   been compromised, stolen, viewed, accessed, or used by unauthorized third parties.
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 1          192. Defendant knew its computer systems and technologies for accepting, securing, and
 2   storing Plaintiff’s and Class Members’ Private Information had serious security vulnerabilities
 3   because it failed to observe standard security practices or correct known security vulnerabilities.
 4          193. The Data Breach was the direct and legal cause of the theft of Plaintiff’s and Class
 5   Members’ Private Information, as well as the resulting damages.
 6          194. The injury and harm Plaintiff and Class Members suffered was the reasonably
 7   foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s and Class Members’ Private
 8   Information.
 9          195. As a direct and proximate result of Defendant’s violations, Plaintiff and the Class
10   have suffered and continue to suffer injury.
11                                           COUNT EIGHT
12                                     INVASION OF PRIVACY
13                                 (On Behalf of the Nationwide Class)
14          196. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
15   incorporates all allegations in all preceding paragraphs.
16          197. Plaintiff and Class Members had a reasonable and legitimate expectation of privacy
17   in their Private Information that Defendant failed to adequately protect against compromise from
18   unauthorized third parties.
19          198. Defendant owed a duty to Plaintiff and Class Members to keep their Private
20   Information confidential.
21          199. Defendant failed to protect, and released to unknown and unauthorized third parties,
22   the Private Information of Plaintiff and Class Members.
23          200. By failing to keep Plaintiff’s and Class Members’ Private Information safe,
24   knowingly utilizing unsecure systems and practices, Defendant unlawfully invaded Plaintiff’s and
25   Class Members’ privacy by, among others, (i) intruding into Plaintiff’s and Class Members’ private
26   affairs in a manner that would be highly offensive to a reasonable person; (ii) failing to adequately
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 1   secure their Private Information from disclosure to unauthorized persons and/or third parties; and
 2   (iii) enabling the disclosure of Plaintiff’s and Class Members’ Private Information without consent.
 3          201. Defendant knew, or acted with reckless disregard of the fact that, a reasonable person
 4   in Plaintiff’s and Class Members’ position would consider its actions highly offensive.
 5          202. Defendant knew, or acted with reckless disregard of the fact that, organizations
 6   handling PII or PHI are highly vulnerable to cyberattacks and that employing inadequate security
 7   and training practices would render them especially vulnerable to data breaches.
 8          203. As a proximate result of such unauthorized disclosures, Plaintiff’s and Class
 9   Members’ reasonable expectations of privacy in their Private Information was unduly frustrated
10   and thwarted, thereby causing Plaintiff and the Class Members undue harm.
11          204. Plaintiff seeks injunctive relief on behalf of the Class, restitution, as well as any and
12   all other relief that may be available at law or equity. Unless and until enjoined, and restrained by
13   order of this Court, Defendant’s wrongful conduct will continue to cause irreparable injury to
14   Plaintiff and Class Members. Plaintiff and Class Members have no adequate remedy at law for the
15   injuries in that a judgment for monetary damages will not end the invasion of privacy for Plaintiff
16   and the Class.
17                                            COUNT NINE
18                                      UNJUST ENRICHMENT
19                                 (On Behalf of the Nationwide Class)
20          205. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
21   incorporates all allegations in all preceding paragraphs.
22          206. Defendant funds its data security measures entirely from its general revenues,
23   including payments made by or on behalf of Plaintiff and Class Members.
24          207. A portion of the payments made by or on behalf of Plaintiff and Class Members was
25   to be used to provide the necessary level of data security.
26          208. Plaintiff and the Class conferred a monetary benefit on Defendant by obtaining tests
27   from their medical provider, which in turn contracted with Defendant to perform the testing. In
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 1   doing so, Plaintiff and Class Members provided Defendant with their most sensitive PII and PHI.
 2   In exchange, Plaintiff and Class Members should have received from Defendant the services that
 3   were subject to the transaction and had their PII protected with adequate data security measures.
 4             209. Defendant knew that Plaintiff and the Class conferred a benefit which it accepted,
 5   and through which Defendant was unjustly enriched. Defendant profited from these transactions
 6   and used Plaintiff’s and the Class’s PII and PHI for business purposes to increase their revenues.
 7             210. Defendant enriched itself by saving the costs it reasonably should have spent on the
 8   necessary data security measures to secure Plaintiff’s and the Class Members’ PII and PHI. Instead
 9   of providing the necessary level of security that would have prevented the Data Breach, Defendant
10   instead calculated to increase its own profits at the expense of Plaintiff and the Class, by using
11   ineffective security measures, failing to pay money for the much-needed training of its employees,
12   failing to conduct the audits, implementing other security measures discussed above. Plaintiff and
13   the Class suffered an injury as a direct and proximate result of Defendant’s decision to prioritize its
14   own profits over the requisite security and training.
15             211. Under the principles of equity and good conscience, Defendant should not be
16   permitted to retain the money belonging to Plaintiff and the Class, because it failed to implement
17   appropriate data management and security measures as mandated by common law and statutory
18   duties.
19             212. If Plaintiff and Class Members knew that Defendant had not reasonably secured their
20   Private Information, they would not have agreed to provide their Private Information nor would
21   they have done business with Defendant.
22             213. Plaintiff and the Class have no adequate remedy at law as discussed above.
23             214. Defendant should be compelled to disgorge its profits and/or proceeds that it unjustly
24   received as a result of having Plaintiff’s and Class Members’ Private Information, or alternatively,
25   Defendant should be compelled to refund the amounts that Plaintiff and the Class overpaid for its
26   services.
27   ///
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 1                                             COUNT TEN
 2                   BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
 3                                  (On Behalf of the Nationwide Class)
 4            215. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 5   incorporates all allegations in all preceding paragraphs.
 6            216. Defendant entered into a contract with each medical service provider to provide
 7   laboratory testing services. These contracts were made expressly for the benefit of the Plaintiff and
 8   Class Members, who gave their Private Information to their Medical Provider directly, as well as
 9   indirectly to the Defendant. Plaintiff and the Class Members only provided this information to their
10   medical provider because they reasonably believed that their Private Information would be kept
11   secure and private. In order to effectuate offered services, Defendant agreed to protect Plaintiff and
12   Class Members’ PII.
13            217. Thus, the benefit of collection, protection, and storage of the Private Information was
14   the direct, intended, and primary objective of the contracting parties as it related to those express
15   terms.
16            218. Defendant breached its contract with each medical provider when it failed to use
17   reasonable data security measures that could have prevented the Data Breach and resulting
18   compromise of Plaintiff and Class Members’ PII.
19            219. Defendant knew that if it breached its contract, the harm would befall the medical
20   provider’s stakeholders for whom the benefit was intended to confer, including the Plaintiff and the
21   Class Members. As such, Defendant’s failure to uphold the terms of its contract and allow for the
22   Data Breach has foreseeably harmed Plaintiff and the Class Members.
            220. Accordingly, Plaintiff and Class Members are entitled to damages in an amount to be
23

24   determined at trial, along with their costs, including attorneys’ fees incurred.

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26   ///
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 1                                           COUNT ELEVEN
 2         INVASION OF PRIVACY BY PUBLIC DISCLOSURE OF PRIVATE FACTS AND
 3                                  INTRUSION UPON SECLUSION
 4                                  (On Behalf of the Nationwide Class)
 5            221. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 6   incorporates all allegations in all preceding paragraphs.
 7            222. Plaintiff’s and Class Members’ Private Information is and always has been private
 8   and confidential.
 9            223. Dissemination of Plaintiff’s and Class Members’ Private Information is not of a
10   legitimate public concern; publication to third parties of their Private Information would be, is and
11   will continue to be, offensive to Plaintiff, Class Members, and other reasonable people.
12            224. By failing to keep Plaintiff’s and Class Members’ Private Information secure and
13   disclosing Private Information to unauthorized parties for unauthorized use, Defendant unlawfully
14   invaded Plaintiff’s and Class Members’ privacy right to seclusion.
15            225. Defendant’s wrongful actions and/or inaction constituted, and continue to constitute,
16   an invasion of Plaintiff’s and Class Members’ privacy by publicly disclosing their Private
17   Information.
18            226. Defendant’s intrusions were substantial and would be highly offensive to a
19   reasonable person, constituting an egregious breach of social norms.
20            227. Plaintiff and the Class Members were, and continue to be, damaged as a direct and
21   proximate result of Defendant’s invasion of their privacy by publicly disclosing their Private
22   Information, for which they suffered loss and are entitled to compensation.
23            228. As a direct and proximate result of Defendant’s violations, Plaintiff and the Class
24   have suffered and continue to suffer injury.
25   ///
26   ///
27   ///
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 1                                            COUNT TWELVE
 2                     DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
 3                                    (On Behalf of the Nationwide Class)
 4              229. Plaintiff, individually and on behalf of the Class, herein repeats, realleges and fully
 5   incorporates all allegations in all preceding paragraphs.
 6              230. The Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., authorizes this Court to
 7   enter a judgment declaring the rights and legal relations of the parties and grant further necessary
 8   relief.
 9              231. Furthermore, the Court has broad authority to restrain acts, such as here, that are
10   tortious and violate the terms of the federal and state statutes described in this Complaint.
11              232. Defendant owes a duty of care to Plaintiff and Class Members which require it to
12   adequately secure its Private Information when it chose to accept and store Plaintiff’s and Class
13   Members’ Private Information.
14              233. Defendant still possesses Plaintiff’s and Class Members’ Private Information.
15              234. Defendant does not specify in the Data Breach notification posted on its website what
16   specific and verifiable steps it has taken to prevent a similar breach from occurring again.
17              235. Plaintiff and Class Members are at risk of harm due to the exposure of their Private
18   Information and the Defendant’s failures to address the security failings that lead to such exposure.
19              236. An actual controversy has arisen in the wake of the Data Breach regarding
20   Defendant’s present and prospective common law and other duties to reasonably safeguard
21   Plaintiff’s and Class Members’ Private Information and whether Defendant is currently maintaining
22   data security measures adequate to protect Plaintiff and the Class from further data breaches that
23   compromise their Private Information.
24              237. Plaintiff and the Class, therefore, seek a declaration that (1) each of Defendant’s
25   existing security measures do not comply with its obligations and duties of care to provide
26   reasonable security procedures and practices appropriate to the nature of the information to protect
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 1   consumers’ Private Information, and (2) to comply with its duties of care, Defendant must
 2   implement and maintain reasonable security measures, including, but not limited to:
 3                    a. Prohibiting Defendant from engaging in the wrongful acts stated herein
 4                        (including Defendant’s utter failure to provide notice to all affected
 5                        consumers);
 6                    b. Requiring Defendant to implement adequate security protocols and
 7                        practices to protect consumers’ Private Information consistent with the
 8                        industry standards, applicable regulations, and federal, state, and/or local
 9                        laws;
10                    c. Mandating that proper notice be sent to all affected consumers, and posted
11                        publicly;
12                    d. Requiring Defendant to protect all data collected through any account
13                        creation requirements;
14                    e. Requiring Defendant to delete, destroy, and purge the Private Information
15                        of Plaintiff and Class Members unless Defendant can provide reasonable
16                        justification for the retention and use of such information when weighed
17                        against the privacy interests of Plaintiff and Class Members;
18                    f. Requiring Defendant to implement and maintain a comprehensive security
19                        program designed to protect the confidentiality and integrity of Plaintiff’s
20                        and Class Members’ Private Information;
21                    g. Requiring Defendant to engage independent third-party security auditors
22                        and conduct internal security audit and testing, including simulated attacks,
23                        penetration tests, and audits on Defendant’s systems on a periodic basis;
24                    h. Requiring Defendant to engage independent third-party security auditors
25                        and/or internal personnel to run automated security monitoring;
26

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 1                     i. Requiring Defendant to create the appropriate firewalls, and implement the
 2                         necessary measures to prevent further disclosure and leak of any additional
 3                         information;
 4                     j. Requiring Defendant to conduct systematic scanning for data breach related
 5                         issues;
 6                     k. Requiring Defendant to train and test its employees regarding data breach
 7                         protocols, archiving protocols, and conduct any necessary employee
 8                         background checks to ensure that only individuals with the appropriate
 9                         training and access may be allowed to access the Private Information data;
10                         and
11                     l. Requiring all further and just corrective action, consistent with permissible
12                         law and pursuant to only those causes of action so permitted.
13          238. The Court can, and should, issue corresponding prospective injunctive relief
14   requiring Defendant to employ adequate security protocols consistent with the law and industry
15   standards to protect Plaintiff’s and Class Members’ Private Information.
16          239. If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury, and
17   lack an adequate legal remedy, in the event of another data breach of the Defendant’s systems or
18   networks. The risk of another breach is real, immediate, and substantial.
19          240. The hardship to Plaintiff and the Class if an injunction is not issued exceeds the
20   hardship to Defendant if an injunction is issued. If another data breach occurs, the Plaintiff and the
21   Class will likely be subjected to fraud, identity theft, and other harms described herein. However,
22   the cost to Defendant of complying with an injunction by employing reasonable prospective data
23   security measures is minimal given it has preexisting legal obligations to employ these measures.
24   ///
25   ///
26   ///
27   ///
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 1                                      PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays
 3   for judgment and relief on all cause of action as follows:
 4                     A. That the Court determines that this Action may be maintained as a Class
 5                        Action, that Plaintiff be named as Class Representative of the Class, that the
 6                        undersigned be named as Class Counsel of the Class, and that notice of this
 7                        Action be given to Class Members;
 8                     B. That the Court enter an order declaring that Defendant’s actions, as set forth
 9                        in this Complaint, violate the laws set forth above;
10                     C. That the Court enter an order providing declaratory and injunctive relief
11                        including specific steps, as outlined above, requiring Defendant to utilize
12                        appropriate methods and policies as necessary to remediate the harm
13                        suffered by Plaintiff and the Class members as well as to prevent future
14                        harm and properly secure its data;
15                     D. That the Court award Plaintiff and the Class damages (both actual damages
16                        for economic and non-economic harm and statutory damages) in an amount
17                        to be determined at trial;
18                     E. That the Court issue appropriate equitable and any other relief (including
19                        monetary damages, restitution, and/or disgorgement) against Defendant to
20                        which Plaintiff and the Class are entitled, including but not limited to
21                        restitution and an Order requiring Defendant to cooperate and financially
22                        support civil and/or criminal asset recovery efforts;
23                     F. That the Court award Plaintiff and the Class pre- and post-judgment interest
24                        (including pursuant to statutory rates of interest set under State law);
25                     G. That the Court award Plaintiff and the Class their reasonable attorneys’ fees
26                        and costs of suit;
27

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 1                      H. That the Court award treble and/or punitive damages insofar as they are
 2                          allowed by applicable laws; and
 3                      I. That the Court award any and all other such relief as the Court may deem
 4                          just and proper under the circumstances.
 5                                     JURY TRIAL DEMANDED
 6          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff respectfully demands a trial by
 7   jury for all claims so triable.
 8
     Dated: April 17, 2025                        COTCHETT, PITRE & McCARTHY, LLP
 9
                                                  /s/ Thomas E. Loeser
10
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